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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 ANTHONY FRANCHI, Individually and On                 )
 Behalf of All Others Similarly Situated,             )
                                                      )
                        Plaintiff,                    )
                                                      )   Case No. 3:18-cv-00179-D
        v.                                            )
                                                      )   JURY TRIAL DEMANDED
 SOUTHCROSS ENERGY PARTNERS, L.P.,                    )
 SOUTHCROSS ENERGY PARTNERS GP,                       )   CLASS ACTION
 LLC, BRUCE A. WILLIAMSON, DAVID W.                   )
 BIEGLER, ANDREW A. CAMERON,                          )
 NICHOLAS J. CARUSO, JR., JASON H.                    )
 DOWNIEM JERRY W. PINKERTON,                          )
 RANDALL S. WADE, AMERICAN                            )
 MIDSTREAM PARTNERS, LP, AMERICAN                     )
 MIDSTREAM PARTNERS GP, LLC, and                      )
 CHEROKEE MERGER SUB LLC,                             )
                                                      )
                        Defendants.                   )



                            NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Anthony

Franchi (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice as to Plaintiff only, and without prejudice as to Plaintiff’s claims on behalf of the putative

class in the Action. Defendants have filed neither an answer nor a motion for summary judgment in

the Action.
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Dated: May 18, 2018                       KENDALL LAW GROUP, PLLC

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